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EXHIBIT 1
Case 1:24-cv-00040-EAW-MJR Document 353-2 Filed 05/06/24 Page 2 of 2

From: Melissa Riley <mriley@stratfs.com>
Sent: Thursday, April 4, 2024 11:34 AM
To: Thomas McNamara; Brian Reiss; Logan Smith; Joseph O'Donnell
Ce: James C. Thoman
Subject: RE: Your Documents are ready for you to sign - Clear Creek - Letter to Clients and
Amendment
EXTERNAL

Here is an example of the reminder.

ee Forwarded message ---------
From: <cmcp@hallockassociates.com>
Date: Thu, Apr 4, 2024 at 3:37 AM

Subject: Janel {Urgent Matter Reminder

To: <EIIFO gmail.com>

Hi Janel,

This is Hallock & Associates LLC again, we have sent you an email recently
about some important changes and see that you have yet to review your new
program agreement, there are some great updates happening with your current
debt relief program.

Please take the time NOW to look for the email you should have received
from digisign@leadtrac.net, they are our email service provider.

Thank you,

Melissa Riley
VP of Client Services
O: (716) 431-4103 // E: mriley@stratfs.com

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